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                                                         Exhibit A to the Complaint
Location: Shelton, CT                                                                               IP Address: 73.60.176.47
Total Works Infringed: 61                                                                           ISP: Comcast Cable
 Work      Hashes                                                                UTC        Site           Published     Registered   Registration
 1         Info Hash:                                                            12-29-     Blacked        12-25-2021    01-17-2022   PA0002330103
           5DAC4AD0ACDE6DE76F2ECB3D6B40F615984D1643                              2021
           File Hash:                                                            12:16:26
           3C36AED1205981717F56BEDC1871A31D650DCB9E3DD3824CDE9852D18350235D
 2         Info Hash:                                                            12-21-     Blacked        12-18-2021    01-17-2022   PA0002330124
           CCB9E55E86A2B9DCA817559173CE152D89FEE149                              2021
           File Hash:                                                            05:16:43
           4E474BFF18A07AB53426EF3C92839F50B199C4A94F789FCB7CC7611C2DA7C3D9
 3         Info Hash:                                                            12-03-     Vixen          11-12-2021    12-09-2021   PA0002325810
           795401C50FDDADEABBF656934EF4862EDAF4D812                              2021
           File Hash:                                                            02:09:49
           54D9902D31E13E7895DED6398A97BF3B7210AE9A96A784AE73230AECE8305429
 4         Info Hash:                                                            11-19-     Blacked        11-13-2021    12-09-2021   PA0002325812
           91B29BF3F683996DF7397B4AA694BA747D373B34                              2021
           File Hash:                                                            05:01:55
           06DA322EA1A0666FCE8D75171829A5B00CE802DB07C7D47B1CAB9AF52461A7B8
 5         Info Hash:                                                            10-05-     Blacked        09-13-2021    10-05-2021   PA0002315289
           95CE8FC9995512C1376E50826F5B4E44B0E5D8AD                              2021
           File Hash:                                                            11:04:22
           31DF0005E5E991AE9D3F6056712C424E8D3AC8BC44E29DA31AC3C255F2F7E712
 6         Info Hash:                                                            09-21-     Vixen          09-17-2021    10-05-2021   PA0002315292
           D9F6076D4145F5E574FFDE66993B5D70E7E3CBE5                              2021
           File Hash:                                                            04:06:55
           39B5A5580E39240898CA0E2F034DFD8ACCD0C18D98E2EE291BC07B4E336BED5C
 7         Info Hash:                                                            09-20-     Blacked        09-18-2021    10-05-2021   PA0002315291
           F6288D8843D03BB11986B571B5B482AA50E750AF                              2021
           File Hash:                                                            21:54:49
           785782EC1A5F128DF0AF9451AEABAC837FCDD2BF381AD1AC9FFAFE26748D563C
 8         Info Hash:                                                            08-15-     Blacked        08-09-2021    08-23-2021   PA0002308396
           CB54A80CA46C7E15031F95C90A4E207C1759D031                              2021       Raw
           File Hash:                                                            04:07:49
           E6DA8AEE619E2D4D08AAF5BFED4CE6336AA4A9F8283D933CC4AD47480D0B16A9
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         07-27-     Blacked   07-26-2021   09-21-2021   PA0002312675
       1A0BEC9D372EC6DDAB3EFB0945A99029696768C7                           2021       Raw
       File Hash:                                                         05:17:56
       14EB0343BBA0238CB9FED1A708E31DC9690C2E18A80E1FAE3F1659754030E637
10     Info Hash:                                                         07-10-     Vixen     07-09-2021   08-20-2021   PA0002312016
       222B16167DB2F3D7C4B1FD0126FF4CD690CCC949                           2021
       File Hash:                                                         08:30:08
       5E4C939E1A6376733ED50A1750625A65FA8E08E2119898F459DEE9AD88D0C498
11     Info Hash:                                                         06-14-     Blacked   06-07-2021   06-15-2021   PA0002296926
       294DDCEBFD93AA7E18B5CCC90F48DC52718D1B79                           2021       Raw
       File Hash:                                                         03:37:41
       FD6A9D3183365AC95017C622CEEDE7C51872C6FDA57F35D63F6C2ECC7254D62C
12     Info Hash:                                                         06-07-     Blacked   06-05-2021   06-15-2021   PA0002296924
       5D0B4AD468484FBE8B14C3EDE83C0059A3B500FC                           2021
       File Hash:                                                         04:19:08
       5D52B81B4CD702783EF137C80FCA97DEFE10239686FCA3DDA9666FA8BE103EBD
13     Info Hash:                                                         04-25-     Blacked   04-19-2021   04-27-2021   PA0002288984
       53DFAD25E14FFB1D5151685A90C174CE24B1BF05                           2021       Raw
       File Hash:                                                         03:37:33
       641BF17828C09C914D56D1B9D789B3DB2CB5798E9CB02B5AD805F0BDC001CCD7
14     Info Hash:                                                         03-31-     Blacked   03-29-2021   04-14-2021   PA0002286726
       75EACE9CA719288B52B64D4D05A349BAA09542B2                           2021       Raw
       File Hash:                                                         01:55:21
       8789678992DCF14336251C54773CBD716197010477909F5BD6930C47A9F234E8
15     Info Hash:                                                         03-03-     Blacked   03-01-2021   03-08-2021   PA0002280355
       A7F1171CFACE35002A796CC7428B8304B4D2F335                           2021       Raw
       File Hash:                                                         04:19:47
       997739CDCA49570ACD6F62ED8DA696908D68B6C43D24AF15EE3A11422344A509
16     Info Hash:                                                         03-01-     Blacked   02-27-2021   03-08-2021   PA0002280373
       AB680670C2B3056DD3F1F0F46DCBC9F41F6495E4                           2021
       File Hash:                                                         02:19:49
       3088FB2726C52B5325B89F21E46D62070F10301B2B6CA4ECB5EF86D0CA89F650
17     Info Hash:                                                         02-09-     Blacked   02-08-2021   03-08-2021   PA0002280363
       4762B207E12798B5BA2DDD00B902201C9FD4EA23                           2021       Raw
       File Hash:                                                         03:58:56
       A0077A2CCDB176BC6A42D6A5511A8948BCA5D56EE3E1A5D3707EF868FEAAC87B
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         01-27-     Blacked   01-25-2021   02-09-2021   PA0002276145
       23F3281238E8C2B9F46A06DE03A1DD56C2FE4183                           2021       Raw
       File Hash:                                                         03:58:38
       F183EF0FD677D5E3B3A74E652AA19DA5A9D35A6F741282153C37E44C88A3A62C
19     Info Hash:                                                         01-16-     Vixen     01-15-2021   02-02-2021   PA0002280500
       B643509B744AA2BC78C6F6E7A5FEADA925EDFE45                           2021
       File Hash:                                                         05:05:52
       77C04498ACC41BAA6DABF502F24144C4CD348922B0FCCE808CE8653AF4BC09B5
20     Info Hash:                                                         01-10-     Blacked   01-09-2021   02-09-2021   PA0002276152
       80DB26C91339E8E0931C21AAED4C908E7C6906A8                           2021
       File Hash:                                                         11:25:45
       158CCE649F4A3813BB074C4C132BD266CD570680BA4A4DAC035C3057501068EF
21     Info Hash:                                                         01-05-     Blacked   01-02-2021   01-05-2021   PA0002269954
       592CC90904C53EF2703DB9CFE9C4184C72214506                           2021
       File Hash:                                                         21:00:16
       23D54B2543E07A11C8AE2914890F822A39159C9D5F9AD4C7BD1A1703C95626AB
22     Info Hash:                                                         01-05-     Blacked   01-04-2021   02-02-2021   PA0002280514
       EB618CE41F176F9BB4820A6C7C959D22B86E4E01                           2021       Raw
       File Hash:                                                         20:54:58
       E9A54ECAA7C0608DB489172C0B2C8DCBF5928E8C3257F0CD962D675AF02F45B5
23     Info Hash:                                                         01-04-     Vixen     01-01-2021   02-02-2021   PA0002281154
       0C5D1910B8D8E8639A61702E02291E16CB7A5596                           2021
       File Hash:                                                         10:08:44
       520A918186BBA676A432F81A738D99DB763F86BE62B6E75F569B500176D9649B
24     Info Hash:                                                         12-28-     Blacked   12-26-2020   01-05-2021   PA0002269952
       6A9595B7BC43E798EE6C495FB4E4C1C28D103DFF                           2020
       File Hash:                                                         10:50:17
       0FAF1BD84DD1F1005497AEDDD3649804BE5D96D2155FEAA6E209723885F72F4C
25     Info Hash:                                                         12-23-     Blacked   12-21-2020   01-05-2021   PA0002269958
       7A55D40C0AC6D4D98039ED938F88F0ECE565C3C2                           2020       Raw
       File Hash:                                                         00:01:06
       13695C39A914DBC94B480E90A90A2B1226545E984E809BB8E11D7D0E88677BF0
26     Info Hash:                                                         12-20-     Vixen     12-18-2020   01-04-2021   PA0002277038
       8ABD3939154F2BA57FAE02F2CF3D36A4DC21BC91                           2020
       File Hash:                                                         13:22:30
       89BE389A4BAD7806355C3D8777A928501E40E1F7E64172C08A577695F367A2A5
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
27     Info Hash:                                                         12-20-     Blacked   12-19-2020   01-05-2021   PA0002269959
       C067DBC227DB94E5FB957E6FAE57B192B8561351                           2020
       File Hash:                                                         13:22:04
       3E909592198DE6BF9D3DEB7AE4487C211B65DA13FC563501821AAED16352916D
28     Info Hash:                                                         12-15-     Blacked   12-14-2020   12-28-2020   PA0002269086
       E75DBA0655ED0539A3E3C83394A5A123D8198889                           2020       Raw
       File Hash:                                                         01:36:04
       18F7A4DAC3D26DC3D3FB59E63DE53E8520FD4A26417584F1BFE7A035F9240407
29     Info Hash:                                                         12-06-     Blacked   12-05-2020   01-04-2021   PA0002277031
       3C793E25BD6E9E0908125BC83A966F3DC6D628A7                           2020
       File Hash:                                                         04:05:47
       8FDF7E80CC120B419212A1F8F06C979256DC90BEF9436C38FD7564C20DFC5A98
30     Info Hash:                                                         12-01-     Vixen     11-27-2020   11-30-2020   PA0002266359
       E94C6C84F8CB699DC6A5BEAF48D1409C03D3A09A                           2020
       File Hash:                                                         10:59:16
       EED64CB65161A021598703F22CDCA5D24EA9C70C1B9F038BAFD55B5271A7786E
31     Info Hash:                                                         11-29-     Tushy     08-16-2020   08-18-2020   PA0002253098
       8C0450560F9B89D6FC85B8D65FC2A45F85BEB391                           2020
       File Hash:                                                         21:46:12
       D51FF4DFDC04263DDA8DDDF1C9E02997D3C0193D83460492DD9D0589FEE5B727
32     Info Hash:                                                         11-29-     Tushy     05-31-2019   06-17-2019   PA0002181300
       D7A7B422ED8B09C4D350D5DCD70FEE647946B146                           2020
       File Hash:                                                         21:45:10
       FCF279202902EA6E3D0FAD1FA98C56F0FA68266DBAFAC1801851C20D6393BB79
33     Info Hash:                                                         11-29-     Blacked   11-28-2020   12-28-2020   PA0002269083
       FD63F631AEAE1834A387A44E1A97894E6ABCECA3                           2020
       File Hash:                                                         02:51:50
       E71E29CB4D7FACDFEBA6D0210208469A5A9181A110CD708E19DBEE039F165DE4
34     Info Hash:                                                         11-22-     Blacked   11-21-2020   11-30-2020   PA0002266354
       9A235A3B173EBC1924784B571FA2EE9C3E96B4CF                           2020
       File Hash:                                                         10:32:24
       44FFB5B48EEC7B77914F5565089A5C9650E0698BE8DF1E4EE2D3E885B18B6764
35     Info Hash:                                                         11-17-     Blacked   11-14-2020   11-30-2020   PA0002266362
       B842125724634B62F2F35B16A4F876EB63493A7C                           2020
       File Hash:                                                         10:58:09
       A0FD9B99E132B1CA64E0BA989C6610FC3855446B91DCD42FEAFC353CCA7F89A8
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
36     Info Hash:                                                         11-01-     Vixen     10-30-2020   11-18-2020   PA0002272620
       1A7246D672BF75E1B54BD209E1A045C1537C3382                           2020
       File Hash:                                                         06:21:43
       CDCF5E58B50B8E4B1CEDBEDF1D3C4025C2120BDF5107AF1E45ED0BDEAC00FB1D
37     Info Hash:                                                         11-01-     Blacked   10-31-2020   11-24-2020   PA0002265967
       4D787ED138A585C1EECF0E44E83EC3D49004F7CD                           2020
       File Hash:                                                         06:17:26
       3F3A696F9E26856B2C412E2CAC0F40309EC102098201BB4215583ADAC60829DB
38     Info Hash:                                                         10-18-     Blacked   10-17-2020   11-05-2020   PA0002263387
       F963FC66BEC64BF8323AA10A31D829DE757A4211                           2020
       File Hash:                                                         18:40:51
       B85D0B747CC11085A6E5DD8FAE0DE603975DA7B66892618C8A81B596BB19D3AE
39     Info Hash:                                                         10-13-     Blacked   10-12-2020   10-22-2020   PA0002261809
       2665AECC29F2D50DD62093F42A9340F9909569F2                           2020       Raw
       File Hash:                                                         09:50:14
       029FEAE102E533E666ECBE60343B612A4CC4639500FB7ADEAD141891D0734332
40     Info Hash:                                                         10-04-     Blacked   10-03-2020   10-22-2020   PA0002261803
       FF2738464090D606206D0608A050F0BA3D10E1A9                           2020
       File Hash:                                                         11:33:47
       ADDC73912EE777EB7455915C5BAD3A332E1F6EA951019C2EA1284BE0F356CE0C
41     Info Hash:                                                         09-25-     Blacked   09-19-2020   09-29-2020   PA0002258681
       E2CA4D4217E8E7EDD519E8CC21101219F0611D8A                           2020
       File Hash:                                                         10:00:36
       DCBE041407D9045781E5318840AEAEEE2E846C4FDB72FA4FF168C59CEC30F0EA
42     Info Hash:                                                         09-21-     Vixen     09-18-2020   09-29-2020   PA0002258680
       92FCEC5F528AB1D27B01FBC0E4D1157C3AC17400                           2020
       File Hash:                                                         00:14:39
       C82F38BBF86C7553B2028C9457E35287A623F34DCCFD5A55E9C4679D4D7BD2B1
43     Info Hash:                                                         09-13-     Blacked   09-12-2020   09-29-2020   PA0002258684
       B363647575BA54B6B923C05223F4A92289A30083                           2020
       File Hash:                                                         12:04:48
       4EC8B4DD67C4ECB63D03456468A0B6538CD12C60BC25054CDDCC3698AEF101CB
44     Info Hash:                                                         09-05-     Blacked   09-05-2020   09-29-2020   PA0002258686
       95D2ACE15F8693C28B5B3372FA64669874E22993                           2020
       File Hash:                                                         22:36:58
       9883BF370B7088BD99D027FDCFC54FECC135B521FF8E5754E486554B3C138822
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
45     Info Hash:                                                         08-25-     Blacked   08-22-2020   09-05-2020   PA0002255479
       B3F2F92AABA110DEAED3DF4A2157600625689993                           2020
       File Hash:                                                         02:27:58
       4A7C802343F947C5C185EFE1D0192CDC58CE8C8B5DE6581E9E9AE01AE6E600DA
46     Info Hash:                                                         08-19-     Blacked   08-17-2020   09-05-2020   PA0002255472
       1F20D6A7008B7CCEC3410A20EFACC4AC55CEAADC                           2020       Raw
       File Hash:                                                         03:56:24
       9A1A9C2782555622990015C592A6BA55BE742A35B3ACE638D920D2A4A3D2B1E9
47     Info Hash:                                                         08-16-     Blacked   08-15-2020   09-05-2020   PA0002255476
       0CE9BA50E65017394BAEBB712C8F57D69B5F3DBF                           2020
       File Hash:                                                         03:35:30
       7A635BC050ED42E52C8B861EABDB6DD010C5CC310A60219E2B59B38D1218DE46
48     Info Hash:                                                         08-09-     Vixen     08-07-2020   08-18-2020   PA0002253099
       E1EBC832B0B759E6C6CA80154E3BBF9F961FB533                           2020
       File Hash:                                                         01:08:02
       296CBAC791B2B8C851CD79BDE55041144674B2ADEF671BA45434B663E7AE5ADF
49     Info Hash:                                                         08-02-     Vixen     07-31-2020   08-11-2020   PA0002252260
       BEF0D2E7B96DDC060FA0F61AB59A5985525115B5                           2020
       File Hash:                                                         18:59:41
       B67B097F801EEA65584A38F8DCE91095187EC713948B4F65B62B25346C690CAF
50     Info Hash:                                                         07-08-     Blacked   07-06-2020   07-20-2020   PA0002248962
       6E092D7A3453A1D45B1439231F12D419573100A7                           2020       Raw
       File Hash:                                                         12:53:08
       D8BF82073E2B68DD94CE8EB6D1D86B84A373A3C3A9FD4A6154CF46360F2A4686
51     Info Hash:                                                         07-03-     Vixen     07-03-2020   07-16-2020   PA0002248578
       9D0DD6ED44118B4E55D80196591F7AC42E295976                           2020
       File Hash:                                                         22:27:51
       738DDC3A312718766B64BDB17DD2846B5E1715AFBA943EA819CCE5A2066B4BF7
52     Info Hash:                                                         06-22-     Blacked   06-22-2020   07-16-2020   PA0002248579
       5A425FDB7FFB5049E12D808FDDA461C2F7407B34                           2020       Raw
       File Hash:                                                         21:09:46
       DF4B0D288618658DC49EB26217CF1544419BC25A96680CB513E8090162FC6E52
53     Info Hash:                                                         06-21-     Blacked   06-20-2020   07-17-2020   PA0002248594
       B97BC31D74315E955951C6DDFF3E97FB6F8A3893                           2020
       File Hash:                                                         02:49:56
       E0AD027EBC12B3FD5A3B9CB93EB004508ABEF60E24B62F6905C79A5AB0251947
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
54     Info Hash:                                                         06-14-     Blacked   06-13-2020   06-22-2020   PA0002245632
       D3E283DD3E559EF10AA4E16E0B3A621375FDEE75                           2020
       File Hash:                                                         11:31:04
       FEADBB935D34439E2E4A513DB05EE2F63A59C7E34057C366B06E5FCD3C0F0E4E
55     Info Hash:                                                         06-11-     Blacked   06-08-2020   06-25-2020   PA0002255509
       E2BA38D564CE1B80BB4C1DDB0181EAB395E64F79                           2020       Raw
       File Hash:                                                         18:52:05
       567594C66D3EB44E05CA9910A6BA3FCCA70189C1CBE7EB7E43C390AC2A12273B
56     Info Hash:                                                         06-07-     Blacked   06-06-2020   06-22-2020   PA0002245636
       30219F5EF1E4B77DB42BCC64543DF5B1AE98239E                           2020
       File Hash:                                                         11:28:32
       754328AD4A4BC4F60A62464516F3E471E5A3E5CC77E924F967655D5A593B23D0
57     Info Hash:                                                         05-14-     Blacked   12-11-2018   01-22-2019   PA0002147907
       8284F9BB82CA4D85A6A0FFBEF12D8A104895C1C4                           2020
       File Hash:                                                         13:12:34
       7CF4A64EE629874ADBAA21BE5240048B18751C18F0E9D21D4ADF61DD4FC6D7C0
58     Info Hash:                                                         05-14-     Blacked   11-06-2017   11-27-2017   PA0002097974
       0F4CB5BFE31D785D0469C73F83F7CEB7AF0E1F9B                           2020
       File Hash:                                                         13:06:11
       5CF9341843FB7AE8329D6419CA95220B72F483EEB3AF4B0204545DE2B0D63900
59     Info Hash:                                                         05-14-     Blacked   09-17-2017   10-10-2017   PA0002086174
       A5DAB5C75BEE5E7712B44AB312CC175F0E036C7B                           2020
       File Hash:                                                         13:05:22
       F5D6799A408A35E92232855E8EC7C1CF519E7AC2ABF55B2F52DBAB82C51BF3A4
60     Info Hash:                                                         05-10-     Blacked   05-09-2020   06-08-2020   PA0002243649
       A7C5BC453D17D393412451B93F31AF14F3040CDF                           2020
       File Hash:                                                         13:52:10
       A03C906CA233D577062F29E5AC6F8776502AB391EBABC4708785250C390C8606
61     Info Hash:                                                         03-28-     Vixen     03-27-2020   04-17-2020   PA0002246166
       F1C42EEE6A5C0C66BE5312B87E57F3BB13D4FF14                           2020
       File Hash:                                                         14:03:24
       DD4796B449317DB7C5EA04F3FA3518700E17FCEB633AE40D0361FF3C98D3E178
